                                                           Case 1:24-bk-10646-MB         Doc 472 Filed 12/17/24 Entered 12/17/24 12:08:40     Desc
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                                                           5   Attorneys for GRABR, INC.
                                                           6
                                                           7                            UNITED STATES BANKRUPTCY COURT
                                                           8                            CENTRAL DISTRICT OF CALIFORNIA
                                                           9                             SAN FERNANDO VALLEY DIVISION
                                                       10
                                                       11        In re;                                         Case No. 1:24-bk-10646-MB
              TEL.: (213) 533-5921 – FAX: (213) 627-6342




                                                       12        SYNAPSE FINANCIAL                              Chapter 11
                                                                 TECHNOLOGIES, INC.,
                    633 West Fifth Street, Suite 6400




                                                       13
                       Los Angels, CA 90071 950
AKERMAN LLP




                                                                                                                NOTICE OF WITHDRAWAL OF
                                                       14                    Debtor .                           COUNSEL
                                                       15
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                                                       22                   TO ALL PARTIES OF RECORD AND THEIR COUNSEL:
                                                       23                   PLEASE TAKE NOTICE that Dennis N. Lueck, Esq. is no longer associated
                                                       24      with the law firm of Akerman LLP. Grabr, Inc. requests that Mr. Lueck be removed
                                                       25      from the service list.
                                                       26                   PLEASE TAKE FURTHER NOTICE that Akerman LLP continues to serve
                                                       27      as counsel of record for Grabr, Inc., an interested party in this proceeding. Grabr, Inc.
                                                       28      respectfully requests that all notices given or required to be given in this proceeding and

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                                                           Case 1:24-bk-10646-MB     Doc 472 Filed 12/17/24 Entered 12/17/24 12:08:40   Desc
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                                                           1   all papers served or required to be served in this proceeding, be served upon Grabr,
                                                           2   Inc.'s counsel at the following address and email address:
                                                           3                                    Jacqueline Foroutan
                                                                                     Email: jacqueline.foroutan@akerman.com
                                                           4
                                                                                                 AKERMAN LLP
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                                                                                            Telephone: (213) 533-5921
                                                           7                                Facsimile: (213) 627-6342
                                                           8
                                                               Dated: December 17, 2024                         AKERMAN LLP
                                                           9
                                                       10
                                                       11
                                                                                                      By:
              TEL.: (213) 533-5921 – FAX: (213) 627-6342




                                                       12                                                   Jacqueline Foroutan
                                                                                                      Attorneys for GRABR, Inc.
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